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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America

             v.                              Case No. 04-cr-211-01-SM

Juan Rosario

                                    ORDER

      Defendant Rosario’s motion to continue the final pretrial conference and

trial is granted (document 12). Trial has been rescheduled for the February

2006 trial period. Defendant Rosario shall file a waiver of speedy trial rights

not later than January 3, 2006. On the filing of such waiver, his continuance

shall be effective.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendant in a speedy trial, 18

U.S.C. § 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny defendant the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference: January 18, 2006 at 2:30 p.m.

      Jury Selection: February 7, 2006 at 9:30 a.m.
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      SO ORDERED.



                                  ____________________________
                                    Steven J. McAuliffe
                                    Chief Judge

December 27, 2005

cc:   Stephen Wight, Esq.
      Clyde R.W. Garrigan, AUSA
      US Probation
      US Marshal




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